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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

  UMG RECORDINGS, INC., et al.,

            Plaintiffs,

  v.                                                      Case No: 8:19-cv-710-MSS-TGW

  BRIGHT HOUSE NETWORKS, LLC,

            Defendant.


                                            ORDER

            THIS CAUSE comes before the Court for consideration of Plaintiffs’ Motion to

  Dismiss Defendant’s Counterclaims, (Dkt. 171), Defendant’s response in opposition

  thereto, (Dkt. 189), and Plaintiffs’ reply, (Dkt. 229); and Defendant’s Motion to Modify the

  Scheduling Order and for Leave to File Second Amended Answer, Affirmative Defenses,

  and Counterclaims, (Dkt. 165), Plaintiffs’ response in opposition thereto, (Dkt. 172), and

  Defendant’s reply. (Dkt. 200) Upon consideration of all relevant filings, case law, and

  being otherwise fully advised, the Court GRANTS the Motion to Dismiss Defendant’s

  Counterclaims and DENIES the Motion to Modify the Scheduling Order and for Leave to

  File Second Amended Answer, Affirmative Defenses, and Counterclaims.

       I.      BACKGROUND

               A. Factual Background

            This action arises from copyright infringement allegedly committed by thousands

  of subscribers to Bright House Networks, LLC, formerly one of the largest internet service

  providers (“ISPs”) in the country. (Dkt. 94 at ¶¶ 1-2) Plaintiffs—a collection of record

  companies and music publishers that hold copyrights in “some of the world’s most famous
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  and popular music”—seek to hold Bright House liable for refusing to take steps to stop its

  subscribers from illegally downloading and distributing Plaintiffs’ music through BitTorrent

  and other file-sharing services. (Id. at ¶ 2) Plaintiffs allege that, even after their

  representatives sent hundreds of thousands of notices to Bright House identifying specific

  instances of infringement by its subscribers, Bright House declined to terminate or

  otherwise take meaningful action against the infringing subscribers. (Id. at ¶¶ 2-3)

  According to Plaintiffs, Bright House’s failure to act in the face of this knowledge subjects

  it to secondary liability for the direct infringement committed by its users. (Id. at ¶ 5)

         The Motions now before the Court concern Bright House’s counterclaims. Bright

  House alleges that Plaintiffs, through their trade association, the Recording Industry

  Association of America (“RIAA”), used a company called MarkMonitor to send Bright

  House materially false infringement notices. (Dkt. 164 at ¶ 132) The notices claimed to

  have identified Bright House users engaged in copyright infringement and represented

  that the sender had “a good faith belief that this activity is not authorized by the copyright

  owner, its agent, or the law.” (Id. at ¶ 71) Bright House alleges that several of these notices

  contained material misrepresentations, including that (i) the record company “on whose

  behalf the notice was sent owned or controlled the work,” and (ii) “the actions alleged to

  have been taken by Bright House’s subscribers constituted infringement of the [record

  company’s] rights.” (Id. at ¶ 73) In fact, according to Bright House, Plaintiffs did not own

  hundreds of the works for which they sent infringement notices. (Id. at ¶¶ 66-67, 74)

         Bright House claims to have discovered the alleged misrepresentations in

  February 2020, approximately one year after Plaintiffs filed this lawsuit. (Id. at ¶ 89) What

  prompted the discovery was Plaintiffs’ request to file an Amended Complaint removing




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  283 works from this action. (Id. at ¶¶ 65-66)1 Bright House alleges, on information and

  belief, that Plaintiffs dropped at least some of these works because they either do not

  own them or Bright House subscribers did not infringe them. (Id. at ¶¶ 67-68) Although

  they ultimately dropped these compositions and recordings, Plaintiffs had previously sent

  Bright House infringement notices in connection with the challenged works. (Id. at ¶ 71)

             To process the infringement notices, Bright House used a system called ECATS—

  the Enterprise Copyright Automation Tools System. (Id. at ¶ 33) ECATS converted

  infringement notices that met certain basic requirements into “tickets.” (Id. at ¶ 35) Bright

  House then forwarded the “notices to accused subscribers, reminding them that infringing

  copyright violates Bright House’s Acceptable Use Policy and emphasizing that they

  should take immediate action to stop the exchange of any infringing material.” (Id. at ¶

  37) Significantly, Bright House alleges that it “had no ability to remove or take down

  infringing content from its customers’ computers.” (Id. at ¶ 14) Nor could it “restrict, or

  even detect, the specific content that its customers accessed or shared.” (Id.) Bright

  House further alleges that, as an ISP, it “did not store its subscribers’ content on its

  servers” and “could not control what its customers stored on their own or others’

  computers.” (Id. at ¶¶ 1, 13) Although Bright House pleads that the steps it “took in

  response to receiving the inaccurate notices could result in the ‘removal or blocking’ of

  the noticed material,” it does not allege that it ever blocked or removed access to any

  allegedly infringing material. (Id. at ¶ 144 (emphasis added))




  1   Plaintiffs initially sued Bright House for infringement of a total of 7,554 works. (Dkt. 1-1; Dkt. 1-2)



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            B. Procedural History

        Plaintiffs initiated this action on March 22, 2019, and subsequently filed an

  Amended Complaint asserting two claims against Bright House: contributory copyright

  infringement and vicarious copyright infringement. (Dkt. 1; Dkt. 94 at ¶¶ 90-107) Bright

  House moved to dismiss the vicarious liability claim, and the Court granted that motion

  on July 8, 2020. (Dkts. 99, 142) Bright House then answered the Amended Complaint

  and filed counterclaims, which it subsequently amended. (Dkts. 151, 164) The

  counterclaims assert that Plaintiffs violated the Digital Millennium Copyright Act

  (“DMCA”), 17 U.S.C. § 512(f), and the Florida Deceptive and Unfair Trade Practices Act

  (“FDUTPA”), Fla. Stat. §§ 501.201 et seq., by sending Bright House knowingly false

  infringement notices. (Dkt. 164 at ¶¶ 131-63)

        On August 25, 2020, the same day it filed its Amended Counterclaims, Bright

  House sought leave to add two new counterclaim-defendants: the RIAA and MarkMonitor.

  (Dkt. 165) Bright House was required to seek leave because the deadline for adding new

  parties had passed on January 6, 2020. (Dkt. 69) Notably, Bright House does not propose

  to add any new factual allegations to its Amended Counterclaims, nor does it seek to

  bring additional causes of action. (Dkt. 165-2) Plaintiffs oppose the addition of the RIAA

  and MarkMonitor, contending that Bright House unreasonably delayed in seeking to add

  new parties and that the proposed amendments would be futile. (Dkt. 172 at 1)

        Plaintiffs separately move to dismiss the Amended Counterclaims. (Dkt. 171) They

  contend that the Section 512(f) claim fails because (i) Bright House has not alleged that

  Bright House removed or disabled access to any allegedly infringing content and (ii) there

  are no plausible allegations that Plaintiffs actually knew any infringement notices were




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  false when they were sent. (Id. at 1) Plaintiffs seek dismissal of the FDUTPA claim on the

  grounds that (i) the DMCA pre-empts any state-law tort claims based on false

  infringement notices, (ii) the allegations underlying the FDUTPA claim fail to comply with

  Federal Rule of Civil Procedure 9(b), and (iii) Bright House fails to plead a deceptive act

  in the course of trade or commerce or any cognizable harm caused by such act. (Id. at 2)

     II.      LEGAL STANDARD

           “A motion to dismiss a counterclaim pursuant to Federal Rule of Civil Procedure

  12(b)(6) is evaluated in the same manner as a motion to dismiss a complaint.” Geter v.

  Galardi S. Enters., Inc., 43 F. Supp. 3d 1322, 1325 (S.D. Fla. 2014). A counter-plaintiff

  must plead only enough facts to state a claim to relief that is plausible on its face. Bell

  Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1968-69 (2007). Although a counterclaim

  challenged by a Rule 12(b)(6) motion to dismiss does not need detailed factual

  allegations, a counter-plaintiff is still obligated to provide the “grounds” for his entitlement

  to relief, and “a formulaic recitation of the elements of a cause of action will not do.” Berry

  v. Budget Rent A Car Sys., Inc., 497 F. Supp. 2d 1361, 1364 (S.D. Fla. 2007) (quoting

  Twombly, 127 S. Ct. at 1964-65). In evaluating the sufficiency of a counterclaim in light

  of a motion to dismiss, the well-pleaded facts must be accepted as true and construed in

  the light most favorable to the counter-plaintiff. Quality Foods, 711 F.2d at 994-95.

  However, the court should not assume that the counter-plaintiff can prove facts that were

  not alleged. Id. Thus, dismissal is warranted if, assuming the truth of the factual

  allegations of the counterclaim, there is a dispositive legal issue that precludes relief.

  Neitzke v. Williams, 490 U.S. 319, 326 (1989).




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     III.      DISCUSSION

               A. The Section 512(f) Counterclaim Is Due to Be Dismissed

            Bright House alleges that Plaintiffs violated Section 512(f) of the DMCA by sending

  knowingly false infringement notices. (Dkt. 164 at ¶¶ 131-50) This counterclaim fails as a

  matter of law because Bright House does not allege that it removed or disabled access

  to any allegedly infringing content in response to the notices.

            The DMCA created four safe harbors “to protect ISPs from liability for copyright

  infringement under certain conditions” In re Charter Commc’ns, Inc., Subpoena Enf’t

  Matter, 393 F.3d 771, 775 (8th Cir. 2005). Here, Bright House asserts an affirmative

  defense under the first safe harbor, Section 512(a). (Dkt. 164 at 44-45) That provision

  “limits the liability of ISPs when they do nothing more than transmit, route, or provide

  connections for copyrighted material—that is, when the ISP is a mere conduit for the

  transmission.” In re Charter Commc’ns, Inc., Subpoena Enf’t Matter, 393 F.3d at 775. To

  qualify for this safe harbor, an ISP must “satisfy certain ‘conditions of eligibility,’ including

  the adoption and reasonable implementation of a ‘repeat infringer’ policy that ‘provides

  for the termination in appropriate circumstances of subscribers and account holders of

  the service provider’s system or network.’” Viacom Int’l, Inc. v. YouTube, Inc., 676 F.3d

  19, 27 (2d Cir. 2012) (quoting 17 U.S.C. § 512(i)(1)(A)). Eligibility for the Section 512(a)

  safe harbor does not depend, however, on compliance with the DMCA’s notice-and-

  takedown provision, which requires a service provider to “respond[ ] expeditiously to

  remove, or disable access to, the material that is claimed to be infringing upon notification




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  of claimed infringement.” In re Charter Commc’ns, Inc., Subpoena Enf’t Matter, 393 F.3d

  at 776 (quoting 17 U.S.C. §§ 512(b)(2)(E), 512(c)(1)(C), and 512(d)(3)). 2

          “[C]opyright owners who abuse the takedown procedure are subject to liability.”

  Doe v. Geller, 533 F. Supp. 2d 996, 1002 (N.D. Cal. 2008). In particular, Section 512(f)

  provides that “[a]ny person who knowingly materially misrepresents under this section . .

  . that material or activity is infringing . . . shall be liable for any damages, including costs

  and attorneys’ fees, incurred by . . . a service provider . . . as the result of the service

  provider relying upon such misrepresentation in removing or disabling access to the

  material or activity claimed to be infringing.” 17 U.S.C. § 512(f) (emphasis added). To

  “state a plausible claim” under this provision, a plaintiff must allege that “a ‘takedown’

  actually occurred”—that is, that “the service provider . . . ‘remov[ed] or disabl[ed] access’

  to the allegedly infringing material” in reliance on the misrepresentation. Opinion Corp. v.

  Roca Labs, Inc., No. 8:15-CV-811-17AEP, 2016 WL 6824383, at *3 (M.D. Fla. Nov. 17,

  2016) (quoting 17 U.S.C. § 512(f)); see also Amaretto Ranch Breedables, LLC v. Ozimals,

  Inc., 790 F. Supp. 2d 1024, 1029 (N.D. Cal. 2011) (dismissing plaintiff’s Section 512(f)

  claim “with prejudice because no takedown occurred”).

          Bright House’s Section 512(f) counterclaim fails at the threshold because there are

  no allegations that it ever responded to the allegedly false infringement notices by

  “removing or disabling access to the [infringing] material.” 17 U.S.C. § 512(f). In other

  words, “no takedown occurred.” Amaretto Ranch Breedables, LLC, 790 F. Supp. 2d at

  1029. Indeed, Bright House affirmatively alleges that it lacked the capacity to perform


  2 Unlike ISPs that serve as mere conduits for user transmissions, service providers that store user content

  on their own systems or “refer[ ] or link[ ]” users to infringing content are required to comply with the DMCA’s
  notice-and-takedown provision in order to qualify for the safe harbor. Recording Indus. Ass’n of Am., Inc.
  v. Verizon Internet Servs., Inc., 351 F.3d 1229, 1234 (D.C. Cir. 2003) (quoting 17 U.S.C. §§ 512(d)(1)-(3)).



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  takedowns. It pleads that it (i) “had no ability to remove or take down infringing content

  from its customers’ computers” and (ii) could not “restrict, or even detect, the specific

  content that its customers accessed or shared.” (Dkt. 164 at ¶ 14) Although Bright House

  alleges that it forwarded the infringement notices to “accused subscribers” and

  “emphasiz[ed] that they should take immediate action to stop the exchange of any

  infringing material,” it does not claim to have terminated any user accounts or removed

  any allegedly infringing content. (Id. at ¶ 37) “Absent some indication that a ‘takedown’

  actually occurred, [Bright House] fail[s] to allege the requisite injury under Section 512(f),

  and thus fail[s] to state a plausible claim under the DMCA.” Opinion Corp., 2016 WL

  6824383, at *3.

         The court in Warner Records Inc. v. Charter Communications, Inc.—a case

  involving many of the same plaintiffs as the present action—recently dismissed a similar

  counterclaim. No. 19-CV-00874-RBJ-MEH, 2020 WL 6511988, at *2-3 (D. Colo. Nov. 5,

  2020). There, as here, the defendant ISP premised its Section 512(f) counterclaim on the

  “the fact that the First Amended Complaint identifie[d] 455 fewer works” than the initial

  complaint, which allegedly “implie[d] that plaintiffs dropped those works because plaintiffs

  did not have valid infringement claims as to them.” Id. at *2. The court found the

  counterclaim deficient for several reasons, including that the defendant failed to “allege[ ]

  that it incurred damages ‘as the result of the service provider relying on [the alleged]

  misrepresentation[s] in removing or disabling access to the material or activity claimed to

  be infringing.’” Id. at *3 (quoting 17 U.S.C. § 512(f)). The court reasoned that “although

  [the defendant] ha[d] notified some of its subscribers of some of plaintiffs’ claims of

  infringement, it ha[d] not cancelled any subscriptions or taken other actions to disable




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  subscribers’ access to [its] services.” Id. Bright House’s counterclaim suffers from the

  same fatal flaw and is therefore due to be dismissed.

            B. The FDUTPA Counterclaim Fails

         Bright House also claims that Plaintiffs violated FDUTPA by sending false

  infringement notices. (Dkt. 164 at ¶¶ 151-63) This counterclaim must be dismissed

  because Bright House does not allege that the infringement notices were sent “in the

  course of trade or commerce,” as required to state a FDUTPA claim.

         “To state a claim under FDUTPA, a plaintiff must allege (1) a deceptive or unfair

  practice in the course of trade or commerce, (2) causation, and (3) actual damages.”

  Owens-Benniefield v. Nationstar Mortg. LLC, No. 8:17-CV-540-T-33TGW, 2017 WL

  3149429, at *6 (M.D. Fla. July 25, 2017). FDUTPA defines “trade or commerce” as the

  “advertising, soliciting, providing, offering, or distributing, whether by sale, rental, or

  otherwise, of any good or service, or any property, whether tangible or intangible, or any

  other article, commodity, or thing of value, wherever situated.” Fla. Stat. § 501.203(8). To

  satisfy the “trade or commerce” requirement, a plaintiff must plead that “the [deceptive]

  act or practice itself [was] in the conduct of trade or commerce.” Copans Motors, Inc. v.

  Porsche Cars N. Am., Inc., No. 14-60413-CV, 2014 WL 2612308, at *6 (S.D. Fla. June

  11, 2014).

         The FDUTPA claim is defective because the infringement notices do not constitute

  “advertising, soliciting, providing, offering, or distributing” any “thing of value” to Bright

  House, its subscribers, or any other party. Fla. Stat. § 501.203(8). Plaintiffs sent the

  infringement notices as part of an alleged effort to enforce their legal rights in recordings

  and compositions they claimed to own. The law is clear that “[c]onduct occurring during




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  the exercise of a legal remedy . . . cannot give rise to a FDUTPA claim because the

  pursuit of a legal remedy does not fall within FDUTPA’s definition of ‘trade or commerce.’”

  Boat Owners Ass’n of U.S. v. Flagship Towing LLC, No. 2:15-CV-197-FTM-29CM, 2015

  WL 4548698, at *2 (M.D. Fla. July 28, 2015); see also Baker v. Baptist Hosp., Inc., 115

  So. 3d 1123, 1125 (Fla. 1st DCA 2013) (“[T]he pursuit of legal remedies does not fall

  within the definition of ‘trade or commerce.’”). Even if Plaintiffs sent the notices “in [the]

  belief that this would increase sales of their products,” (Dkt. 189 at 18), it does not follow

  that Plaintiffs were engaged in the “conduct of trade or commerce” when their

  representatives informed Bright House that its users were allegedly committing copyright

  infringement. See Copans Motors, Inc., 2014 WL 2612308, at *6 (dismissing FDUTPA

  claim premised on the filing of lawsuits designed “to either terminate or drive [the plaintiff-

  competitor] out of business” because “filing a lawsuit is not in the conduct of trade or

  commerce”).

            C. Bright House’s Request to Add New Counter-Defendants Is Denied

         Bright House seeks to amend its counterclaims by adding two new counter-

  defendants: the RIAA and MarkMonitor. (Dkt. 165) As explained above, Plaintiffs, through

  their trade association, the RIAA, used MarkMonitor to send the allegedly false

  infringement notices to Bright House. (Dkt. 164 at ¶ 132) Notably, Bright House does not

  seek to alter or add to any of the factual allegations underlying its Amended

  Counterclaims. (Dkt. 165-2) Nor does it propose to add new causes of action. (Id.)

  Instead, Bright House simply wishes to hold the RIAA and MarkMonitor liable under the

  DMCA and FDUTPA for the same allegedly false notices challenged in the Amended




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  Counterclaims. (Id.) The request to add these new counter-defendants is denied because

  any such amendment would be futile.

           Because Bright House’s request was filed after the expiration of the deadline for

  adding new parties, it “must first demonstrate good cause under Rule 16(b) before [the

  Court] will consider whether amendment is proper under Rule 15(a).” Sosa v. Airprint

  Sys., Inc., 133 F.3d 1417, 1419 (11th Cir. 1998). “Although most cases addressing the

  good cause requirement of Rule 16(b) focus on the diligence of the moving party, futility

  of amendment is also a proper reason for denying a motion for leave to amend under

  Rule 16(b).” Bowers v. Am. Heart Ass’n., Inc., 513 F. Supp. 2d 1364, 1367-68 (N.D. Ga.

  2007). Futility is established when “the complaint as amended is still subject to dismissal.”

  Hall v. United Ins. Co. of Am., 367 F.3d 1255, 1263 (11th Cir. 2004).

           Amendment would be futile here because the addition of RIAA and MarkMonitor

  would do nothing to remedy the defects that require dismissal of Bright House’s

  counterclaims. Leave to amend is therefore denied.

     IV.      CONCLUSION

           Upon consideration of the foregoing, it is hereby ORDERED as follows:

     1. Plaintiffs’ Motion to Dismiss Defendant’s Counterclaims, (Dkt. 171), is GRANTED.

              a. Defendant’s Amended Counterclaims, (Dkt. 164 at 45-76), are DISMISSED.

     2. Defendant’s Motion to Modify the Scheduling Order and for Leave to File Second

           Amended Answer, Affirmative Defenses, and Counterclaims, (Dkt. 165), is

           DENIED.

           DONE and ORDERED in Tampa, Florida, this 29th day of December 2020.




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